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 8

 9                           IN THE UNITED STATES DISTRICT COURT

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12

13

14   MATTHEW JAMES GRIFFIN,                              1:13-cv-01599-LJO-BAM
15                                          Plaintiff, DEFENDANTS’ EX PARTE MOTION
                                                       TO TAKE PLAINTIFF-INMATE
16                  v.                                 MATTHEW JAMES GRIFFIN’S
                                                       DEPOSITION AND REQUEST FOR
17                                                     PHYSICAL RESTRAINTS;
                                                       DECLARATION OF COUNSEL
18   A. JOHNSON, et al.,
                                                     Date:
19                                       Defendants. Time:
                                                     Courtroom:
20                                                   Judge:           The Honorable Barbara A.
                                                                      McAuliffe
21                                                       Trial Date:
                                                         Action Filed: February 20, 2015
22

23    REQUEST TO TAKE PLAINTIFF’S DEPOSITION AND REQUEST FOR PHYSICAL
                                RESTRAINTS
24

25         Defendants request an order allowing them to take the deposition of Plaintiff Matthew

26   James Griffin, an inmate incarcerated at Alexandria Correctional Institution in Taylorsville, North

27   Carolina on Friday, September 23, 2016, at 10:00 a.m. Defendants further request an Order

28   commanding the custodian at Alexandria Correctional Institution to provide security during the
                                                  1
           DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF-INMATE MATTHEW JAMES GRIFFIN’S
                   DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
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 1   deposition, including at least two correctional guards in the room at all times during the
 2   deposition. Defendants further request that the Court order the custodian to secure Plaintiff in full
 3   restraints, including ankle, wrist, and waist restraints, or in the alternative, ensure Plaintiff is
 4   confined in a holding cell during the duration of the deposition. . Defendants’ request is
 5   supported by the following declaration of counsel and attached declaration of California State
 6   Prison, Corcoran Litigation Coordinator M. Kimbrell.
 7                                    DECLARATION OF COUNSEL
 8         I, Khaliah M. Burnley, declare:

 9   1.    I am an attorney licensed to practice in the State of California. I am employed by the

10   Office of the Attorney General of the State of California, and I am assigned to represent the

11   Defendants Bell, Kul, Ross, Sexton, Smith, Thor, and Valdez in this action.

12   2.    On August 26, 2016, our office noticed Inmate James Matthew Griffin’s deposition and

13   served a copy to him. A true and correct copy of the Notice is attached as Exhibit A. On August

14   31, 2016, our office sent Inmate James Matthew Griffin a subpoena demanding he attend the

15   deposition. A true and correct copy of the subpoena is attached as Exhibit B.

16   3.     In response, I was informed by an official at Alexandria Correctional Institution, that I

17   would not be allowed to take the deposition of any inmate, including Matthew James Griffin,

18   without a court order. As such, I request the Court to issue an order allowing Defendants to take

19   Plaintiff’s deposition on September 23, 2016, at 10:00 a.m. at Alexandria Correctional Institution

20   in Taylorsville, North Carolina. Plaintiff is a necessary and material witness in this case.

21   Plaintiff’s deposition is crucial to Defendants’ ability to adequately defend against Plaintiff’s

22   claims. Alexandria Correctional Institution does not have video-conferencing capabilities.

23   Consequently, I must travel to North Carolina to depose Plaintiff. Defendants will be prejudiced

24   if I am not allowed to access inmate Matthew James Griffin to take his deposition. Also,

25   unnecessary time and costs will be expended if I travel to North Carolina and am not permitted to

26   depose Plaintiff.

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            DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF-INMATE MATTHEW JAMES GRIFFIN’S
                    DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
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 1   4.     I was also informed by an official at Alexandria Correctional Institution that inmate-
 2   Plaintiff James Matthew Griffin will not be restrained during the deposition and correctional
 3   guards will not be present during the deposition.
 4   5.     An inmate’s central file contains an inmate’s criminal and disciplinary records and is made
 5   and kept as a part of CDCR’s regular business activity, and contain written details of information
 6   transmitted by CDCR personnel with knowledge of such information. The information included
 7   within Plaintiff’s central file was memorialized at or near the time of the events documented, in
 8   accordance with CDCR’s required practice. I requested Plaintiff’s central file from CDCR. My
 9   review of the records in Plaintiff’s central file revealed that there is a manifest need for restraints
10   given Plaintiff’s violent character, disciplinary history, and nature of his commitment offence.
11   Inmate Griffin, a former police officer and marine, is a highly dangerous individual who has
12   assaulted staff over fifty times through his confinement in New Mexico and California. Plaintiff
13   has physically and verbally assaulted staff members, battered staff members with weapons, and
14   has thrown feces and urine at staff members. While Plaintiff was confined at California State
15   Prison, Corcoran, he was housed in the Security Housing Unit, the highest security level housing
16   unit possible. Additionally, I have been informed by several attorneys who have litigated other
17   actions against Plaintiff, that Plaintiff’s behavior reflects a willingness to strike anyone who
18   approaches him at any available opportunity. A true and correct copy of portions of Plaintiff’s
19   disciplinary history, along with a declaration of custodian of records, is attached as Exhibit C.
20   ///
21   ///
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           DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF-INMATE MATTHEW JAMES GRIFFIN’S
                   DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
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 1   6.    Given Plaintiff’s unpredictable and assaultive behavior, I fear for my safety unless adequate
 2   security precautions are taken. I am uncomfortable in the presence of Plaintiff unless I am
 3   accompanied by at least two correctional guards and Plaintiff is secured by restraints or confined
 4   in a holding cell throughout the entirety of the deposition. I cannot adequately depose Plaintiff in
 5   unsafe conditions and Defendants will be prejudiced if Plaintiff is unrestrained. Thus, I request
 6   the Court issue an order, compelling the custodian at Alexandria Correctional Institution to
 7   physically detain Plaintiff throughout the deposition.
 8   Dated: September 9, 2016                             Respectfully submitted,
 9                                                        KAMALA D. HARRIS
                                                          Attorney General of California
10                                                        MICHELLE L. ANGUS
                                                          Supervising Deputy Attorney General
11

12
                                                          /s/ Khaliah M. Burnley
13
                                                          KHALIAH M. BURNLEY
14                                                        Deputy Attorney General
                                                          Attorneys for Defendants Bell, Kul, Ross,
15                                                        Sexton, Smith, Thor, and Valdez

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           DEFENDANTS’ EX PARTE MOTION TO TAKE PLAINTIFF-INMATE MATTHEW JAMES GRIFFIN’S
                   DEPOSITION AND REQUEST FOR PHYSICAL RESTRAINTS (1:13-cv-01599-LJO-BAM)
